f`l'.

1 1 N°- i
ii“ 3 2003;3§@'3£3157--1:\/--0005011_11 Documemz Filed10/13/07 Page' 1021?‘1

<’~`
1 1@'°`/¢>00
IN 11111 111111;'111. 13 1_..1111111 1111 11111111 1‘<11'1~111 11111§ _-116$,‘( 14
'.'.11111 111" “.1U111C11).L1"11;‘11 11111:1')1111'1 161
1111111,111111111011 ¢?¢/ %“"FZ;>

(fl`i'.`l`k.’ {)li' iX'IELi':&¢§)`URNE, AR.KANSAS

 

'.I`OMB"§.Y' I'IE.N]IE RSON
111 0'1#2111~§§:1§)>.~“.*

QTORRE('. "I`IONAL MEDI('.‘A'L SERVl`C-ES et oi. IJEFENDANTS
GEORG F, WILSON TOM BRADSH,,AW
.DO `I '.!`IE YARBOUGH, DR. RGLAND JOHN ANDERSGN,
UR.. JAM(ZYE ALEXA.N]}ER, DR. REB.ECCA JOI'INSON,
DR. OLABODE OLUMUNFIN, DR. MOHAMMED AHMEI),
DR ROBERT SCGT'[', JANICE BLAN.K'ENSHIP,
SANDRA S'I'RATTON/ASHCRMI'T, DR. SANGRECTR.¢\. DOSHI-JAIN
J`OANN BURNETT, '.I`OM MANWARING, I)R. H_OARCE M.ARVIN JR.

ANI)
FELIX LIM.B AN]`) BRACE CO. et 111.
L}.iJLAND B'EI.I{X,

» 1101111’1,1111\113 c 01101101'111“1 111‘.1:11111111~1011., 1%¢111,1 1111»1,1117
MED,ICAL DIAIPJLAC 'IIC.E AND CIVIL RIGHTS A(.`. TS
rNow comes: the P|ajnt.iff`, 'l`ox‘nmy Hende.rsun_, pro :~.ze, ADC # 93098, a. resident of Izard '
C-ou.nly, ('.’.aiico Rock_, Arkzms'ms, 11111111=..111 HC 62 .Box 300 1111 inmaie for the Depadma'nt of
CTLu‘:;ections hereby Witli a cause cf adion, the Plaintiff alleges that the Defendants violated the
C`Jivii Ri,ghts A<:t 111.` 1993 and 1111 those dual 1113 who have-, or are working fur the Defendam.
Cmrcct.ional Meclical Servi<:-es,, 111111 many issues 111 which the Plaint-iH' wln`c‘-h 111 bring the
con'ipiainl' lu>.rew"ithin.
The general information 01`C01'recti1111111 Me.dical Sv.=:rvic\¢:s\‘a Iuc. is a conu'ascta§i company
- to which 1113 Arkm'u.=as Dapartm 1111 of C<)n'act.i11111-‘ hired CMS to give adequate 111 radical care 10 1111
111111311\1,' u:{"ADC‘. '1.‘1111 contract aim provic.ivs dental and mental health cum
1.`!11.1"3_, 11 headquarhzd private company 1111 Olive Bou]evard 111 Wc>.sd St. Lcmis Counly_. is
1111l nations largest cm‘ectional health and mental and denial health care- com[:iany that is
privately ovmecl 1111 npe.ra£iuns 111 0111-1'3_0 1111=1.911.
.‘*§1:1'.~ “H§en¥th 1'.‘.'.111*1: l$ehin.rl `Burs Report’-‘ 111 11£1'111'111:11, exhibit '#' 1
'i.`he .‘i‘»|.. Louis Post»lliisspmch1)1:1111111111111 investigated CMS to which "Henlth (11111~1 fi»ahincl
1 7 EXH\B|T
PA"$E 10123* RCVD AT BiBIZUOT 5!28242 ANi [C€nfra| Day|ighl Timel* SVR!FAXSERVE|U * DN|S!U * CS|DZ " DURAT|ON (mm-SS)209»55 § §

A. :A N. P.lt
ug 8 20OZZ<Etgezii:ii?-cv-OOOESO-.]LH DocumentZ Filed 10/18/07 Pagoe 1202)91c 16

Bor's"‘ n report that won c:oodi_zc-.tod to show to many orgtmi:antionn_,' sit-zito ngoncioo, fedornl
agonoion_, doctors, in n surprising ropoit that tha notions inmotos, their familieo, oociot.y_. are bring
risks ot'this ado-quite m odit;al caro is not being standards of colo3 but n shocking report that the
public needs to be aware of tim many deutho, neglect, and the “hott.om line, that CMS is trying
to ohoii.r in its mission ntntemenl. of“mnking o di£t'oronoe”
Sce attach copy ~ exhibit # 2

'I'hot. “Foopl`o making o. difference" to which the plointiif will olmw to thin cotut, and the
public that “CMS” is below-standard in medical and mental, dental care to which posing drink to
other iomotos, gunrds, vinitoro_. stati', families and those who hove- died while incarcerated

Ao this general inform orion to which the Plaint.iif`, with wi_tneso"n oubpoonn, the attitude
of unsettling findings by the team ofthe St. Lonin Post-Dinpatch newspaper to which may also
ho oobpoonn. at jury triol.

Mony questions to the- qnolity and motives behind much of t.odny’o correctional health
cnre, those are reasons to these unsettling facts and issues that one needed t.o come to the attention
to lamonkorn, nganciee, those Who pny millions of dollars to houoe, and the core of inmates

behind bm'$.
'Ihis case is one oi`many that have been filed and many complaints by inmates who are

opoalclng loudly to the attention of“se-rioun medical needt."' and what really goes on behind bars
for inmates of the incarcerated to which nt worst, it’s n picture of an industry thai taken
advantage ofthe public‘s ill will towards imitation to give poor core Whilol making a profit.

'l.`ho I’laintit`fs o<nnplo:iot ore genuine issues of foots, ovidonoe, to his mnputot“ion of L
great too and problems that aroo¢d from the neglect and medical lu.nipmctioe that even “infiictod
uu.wanton pain that unoocoootoy” of "cmol and unusual oulii.olnnent”

An the Plointiti`, Tonuny Iioi\dos'oolx, hon given the Det`endmit'n more than the opportunity
to settle this out of coult.‘, giving "`60” day notio¢, grievances ti'om 1 to 80 or so, that more than
gross tt.ogligonw to which doctorn, staff of CMS where treating mo of my complaints, but they
whom not adequate or ev'on- ronsonablo, woll holow-ol'nndm'do thnt to which tho Plointiii" will
provide medical expert tool.'imooy, and oovorol wit‘nooo'o with n.juiy hinl.

"l`ho plaintiff prior to his ].0110/05 incarceration to ADC, ho entered DCiU ot `Pino Bluff,.
At'ltonsos with o level grade # l. or ?. diabetic ulcer on his ]., foot Pt'iot' to this dute, problem of

his left and right i.`oot from blist'ou; of him foot to which otmtod on 'Ihunkogiviug ]Jay 2004-.

2
PA£`\E 11l28* RCVD AT BlilZUUF 5:28142Alll [Cenlra| Day|lghl Tlme] ‘ SVR!FAXSERVEIG* DNlS:U * CS|D: 1‘DUlillllON (mm\SS):lli-SB

".M.A l _ 5: 3AM No.lll99 P. ll
. Ug 8 zolljase l:O?-cV-OOOBO-.]LH DocumentZ Filed 10/18/07 PageSof 16

“-v

Witlt u gouorsl lvl.`l).’s olli.oo- visil', dis plus-doom sM..D. sold tile plaintiff to o "1"001"
speci:iliid,“ n podi.;\triut that podizdri'st is T[)r. Alox Dollingor nl` little R.uok, Arlcuima=r. 'l'.'l‘ouhuoui
and diagnosis and il)llow--unrs was woll idzo\ro~stuudsa'd ol`o:u's and recovery with ]n'o])or suppoi“c
sl:.oso, ti'eotlurml by Dr.'l)oltiugor, wsokly~visilu surl dobt‘iclmout of skin mud pictures before and
older of` those visits to which modical records ore olluolted as exhibits # `3.

Upou. the treatments evidence of bone scans and operation of drainage of infection iu
Morolt onOU§ that long term antibiotics and extreme holding ofths non~bosring weight supports
sltoos_. to which Will be as an exhibit ll 4 at trial with jury.

Those support shoes along with the adequate medical cons W¢ll above standards, the
Plsintiff was 90% healed of all diabetic ulcers li'om the (oxhihit # 3) in piliuros as t.o which
witness or trial Will provide what the only uloor on tltc-. left fi'otu 7/?.0/05 to 10!!.0./05 and there
odor op to the oln.])utotion that could have boon prevented but was not.

F-or the Plaintif.fs cause of action, the following

complaints‘, to which the Plaintil'l' alleges and situth
1. 'l.`lii.s is also a civil rights case under Ark'altsms lsw, mtd lltsl it is being filed it this lime to
toll the stal'uts of limi.t:atioua.
?.. "lltis is o. medical malpractice case that is being filed at this time to toll the- stat.ute of
limitations
3. 'I’hi_s is also a negligence cass thd. is being filed at this time to tire toll of statute of
l.imit'ot'iot‘ls.
4. 'l`ltis is also n color of low case that is being filed at this time to toll the statute of
limitations
5. '1`his is also a case of “product" failed to woli: properly to the orders medically ti'om
doctors of CMS who wanted amon-weight bearing insole to be put in lonnie slioos, for tha loil
foot to Wltioh the product of inside from Felix Limb and Bruoo, where leoud Fo-Iix filled the
orders of doctors of GMS but drs “nsgli§;enco"` of UMS doctors not following up on tha rssu.lt.s oi`
this product that did not do itsjob of keeping the 1`. great too from the non-weight bearing use
'whils wtdlcing.
SEI‘I- #' exhibit # 4 otr jury trial -- (originul inside us evidom~o)
G. Notioo given to all lJe-f`sndaots to the best of the Plaintil`f’o knowledge of\:dw defendants

or 'l`ault of wrongdoing otc-. to this oase..

`3
PAGE lllll‘ RCVD AT llllldll 5228142 llll| [Celtlra| Day|ighl Tlme]" SVR!FAXSERVEIU * DN|S:O * CSlD: * DURA'l'lON [mtn-SS):UQ'§E

 

s ”`A» . s 2007 5=3 nn No‘\099 P. 13
ug " ease l:o?-cv-ooooo-JLH Documemz Filed10/13/07 Page4of16

S.`i";§l'. 41` ssihiizii. '#' 5 ot filing (i:opiss of document to ii_efeml:mts)

"f. ilsvoi'ol cloci'oi‘s limit oro involved in this case who provided om'o, or |.rool.mont or
, diagnosis and tile lock of odoquni.o medical o'srs, who-oro engaged in ihs spsciulij' ol" general

provision to nurse ;n'aoi'ilionsr, to ini'omol msdicino, but failed to l)s specialist of s podisn‘ist, or

oiilmpoclic doctor, but they sixgngo in the practice in Linooln L“.‘olmiy, Jsi'c`oi'oon, Izm‘c:l Countioo in

zl\i.'l<ims&lr;. l

8. 'l`h¢ identities and addition oi`tllose CMS staff, ANI”s lli\l.l”o and hired doctors of CMS

are as the following consol address oftlle control office of CMS oi"Ail<nnsoo is as the following

Addross of CMS at Arlcnnsas at Pine‘Bluif
For ills following CMS m.ail'”

Goor'ge Wilson: Tom Bra¢isihaw, Dottie Yarbough, J`anice Blanicenship, Dr. Rolanci .lolnl

Ande-rson, Dr.-Roberi Ssott, Dr. Honrso Manrin .lr._, Sandra, Strutlon!)‘lshcrsfl., .loann 'Bnrnst.t.,

'.l`om Msmvsring, RNP Janics Aiexanc|sr, Rsboooa.l`ohnson, ANP

6814 Princeton Pilce Road
P'ins 131qu AR ?1602
#870-267~629?

9. Dr. Molxammed Ahmecl left CMS from 'v'sm_er Unit on .Tuno 30, ?.OUG. I'.'iio address

information is from the Arlczmsss Si'sis Mc-.dicnl Bos.u'd R.ecords

SEE # exhibit # 6 ns nttsclierl.

io. I)ootor Olsbscis Oinmunfln was fired approx 9!1/06 flom CMS from problsms of stole

medical malpm.otico violations prior in this complaint To which tim probation for ilw- conduct

violation and address ofDoctor Oisbods- illinoisan is from the records oi'iho /lrkimsss Msciioal

Bosr¢.l.

SIP.'E #'efhiliit # 7 ns attached.

11. Dosl.or Ssngreots Doslii».ls.in may have also been released ii‘om CMS, but Do{’s.nrlm)ts '

infomra'li on of address and genesin iofonnstj on is from the records oi`tlnz Stsio Me.clic.si lloard of

Az'ksu).sos _

S}i§l~f’, exhibit #' 8 ns otiaxch.od.

12. All identities o;t` C.MS unclor this motion st al and unknown identities of CMS i.o the

.`l?lnini'ilf', i'ho Pls'ini'ill`r_‘osowos the right i‘o addi'sss*s frn" t'l\o psenulo nm'nss, nddre.s§’s when lie

has determine ills confth information of all i¢'lenlitios of all ioltf`eooom in occordanco wltli. Arlc.

4
PAGE 13128' RCVD llT lilBIZUUl 5128:42 Alil [Cenlral D&y|lgthlme] * SVR:FAXSERVEN* DNlS:li* CS|D: * DURAT|ON (mm-SS):UQ-§ii

 

_Q ' ` . litton P. 14
A“g' “‘ 20Ocloéoid:llil7-c\/-00050-Jl_H Docomemz_ Fileo10/13/07 Pageoof 16

f..`»ods lion § l.o~-$o~'l.?§ of (198'?) _
13. 'l`lm amount in controversy oxt:oods tire sum of $-'/5_.01?0.00 (sovcnty-five thousand
dollnni) exclusive of interest and cost _ '
14. 'il`hc acts and omissions herein siler complained ol:` occurred in Linooln, .T€'i`i"sison, Izirird
County, Ai'lcansos within the lost two (2) years
15. lN`otice-s of Intsot to sue for thc complaints was sent by U.S. postags mailed by ADC
oilicials to the defendants nitome§r, Humphsiy and tends o£'Wliits I-Ioll_. AR.

Michellc Bzu\lcs Odnm

AR.. # Bor 9413:'~

P.C). Box 20670

Wllito I‘Irdl, AR 71612~0670

#'870-24-’?-7035
on Ap_ril 3“' 200? by certificzd'c of service ns in the document ns attached
SEE oxhi.bit# 9 as a copy
16. 'I`lris court has jurisdiction oftho parties and lho subject matter rand venue is proper in this
counly.
l'l. 'Il\e Plsintiii` pleads that this case stays in Izord county and request orders from the court
to have the Piaintiii` not bc transferred by an order given to ADC staff officials by al restraining
order and order of protection from retaliation of both parties until such agreement between
pmios are in sgroom cut of such release ofthoso ordei's.

7 itt F.ncl\ exhausted grievance of the complaints by the lllainiii?t` ana ss in the filing of the
federal case Hnncloroon vs. CMS 05:06 C`V 250 SWW/HDY arts the grievances are of l thru 80
and more but will have copies available to the courts upon discovory.

SEE exhibit # 10 as attached
Stntom cut of Clrdln of Mal-ni'ociico

1'9. lanioo A|o)rsndor ltNl_’, Ii.oboccri Johnson, ANP of DGU under Dr. Olabodo Olnmonlin
guidance provided diagnosis and imminent between 10/]0;*05 to 10/1'7/05 failed to provide
adequate medical corc, which betadl`ne- scalia and daily choosing oilmlgos, with no request
do~:=nn'lsntr oi`m.y past medical history reqncsl.cd, tile Plainti.ii` pleaded for those records ordered
during this time

lieladino soalrsi and walking on this diabetic ulcer was Wrong treatment and proper

5
PA=$E lillii l RCVD AT 81'81200? 5:28:42 Aiii [CEniral Day|ighlllme] * SVR:FAXSERVEIO* DNlSlU* CSlD: * DURAT|ON (mm-SS):ili-Si

 

o . No.l099 P. 15
N'g`ug` U` 2003@185€`E_Ldl:§)M!-CV-OOOBO-.]LH DocumentZ Filed 10/18/07 Page€ot 16

treatment should have been bed resi., augqu levels ooutrollod, culnu‘e of infec-tion, adequate
antibiotics to which even no support shoos, While walking an the ulcer grew bigger and never
had a. chance to heal properly, below~etnndeu'd oi' care betadine scalia upwade intentions in foot.
SltE exhibit # 11 no attached_. thliams ven T.`l.S., *?4? FrSupp 967, 1990 Lei'.is 12438
“Dtnl)ottcs with m ajar foot problem s"

20. Ou or appro)r 10!17/03 transferred to Varner Unit and CMS retail continued treatment of
DGU` doctors and Dr. Moharnmed Ahmed failed to send to a "podiatn`ot” and failed to get a
culture.

21. 'Froni 10/17/05 Dr. Ahmed and Dr. H'ubbard a ANI’ who sometime in ll,-'O$ gave a
cleaning oiiuuent ot`two (2) tubes to use until total empty use daily at dreeoing ohimgeo, but
failed to give bed rest and culture taken “Willimus ve U.S. unpra"

22. 11/05 to 12!20/05 still no relieve in walking, or bod'eet or culture takeu, but $andra
Strotton deborah failed to keep n supply of cultures for doctrine to uae, no she violated those
rights of not providing adequate medical supplies al Varuer, aa retaliation against defendmit
Stratton/Aehcrafl, due to her position an Vamer"e “IiSA". In a discussion while uro.itingrf in the
iut`irmruy with other inmates, (at diabetic 3 pm onll) and several initiates }n'eaent, Ms. Ash.oraft
purposely threaten “rue” by pulling me naide.d one on one, that if`l ever talked to other inmates
about the issues of CMS and how below-atonde cure they intern that as a ‘juilhouae lawyer”,
eha Would get oven with me and make sure she got rid of met $lie did by plotting with Mu.
Buruett, Ant. Wardeu l~{.irn Luckett, Warden of Varner Uuit on or about 8-30-2006.'1`¢.\ which I
won transferred to M.alveru Unit ou that day.

Witnoes’s at triad subpoena exhibit # 12

2.3. tila or about 12./20/05 while being on a gale pass to DGU clinic in Pine Blul'f, the
Plaintill` saw Dr. Robeit Scoti a “wound care epecialiat” to which I win told_, he did not do a
“oulture” on my L great toe, even with my bandages covered the toe, poe was even present on the
hamlageu,. thin ia also evidence that the negligence and heinw-etintdard ol` care of .Dr. Soott
should o:f` gotten n.“onlture” sent of the results, to see what type of “puir" or infection it wae, but
he did not get a culturen he stated no infection in the toe, I ivan surprised to eeo that he failed to
do this plus give me uMSP'-il(}”l strip for bed rast., hit report will be in medical jacket during to

which I Will request at disooven', "Williarna va U.S.” supraF

6
PAGE lilll* RCVD ill 8l8l2007 5!28:42 Aill [Ctnlral Daylighl Tlme] ‘ SVR:FAKSERVEIG* DN|S:O ‘ CSID: * DURAT|ON (mm'SS)!Ul-ll

'-\-`

<\

8. ZGORBBJAM No.1099 P.
asia 07- -C\/- -00050- .]LH DocumentZ Filed 10/18/07 Page?of 16

C`lvii Rjg,htt: Vinlntinns. {'.` .'nloi oanw
2d1 Wifh the plain with Mn. Strmtonf!hshcrtdl and Mn Burnel.l. n nurnn (t.n vvhi¢.*h w under her
nunewinlnn} plotted together to which two (Tll disciplinnri!:-n was written nn Ang 10, 30th ann
ting l#l, 2006. iliolt calls of hauling problems of line l‘* disciplinij on Ang, ].0, 2006 prior to thin
clni.e Will sh nw l' hall problem n`l.vith my hearing
li`.tcl\ibit.‘s `i'.§', 14, 15, 16, Will be needed and ask nt. disco\'nry and present ut jury ti'inl.
?.5. With more exhibits as “preponderunce of avidence” the CMS administration of 'I`oni
Bi'ndnhaw, George Wilnon, Dottie Yarbough has been notified of the problems I wun haviin;, and
yet never investigatndthe issue by corning to see mo or contacted the odbndsman for CMS at thin
tim e. of problems .Tnne 2, 2006 to dug 30, 2006.
Enliihlt.~'.': 1.7, 1.3, 19, 20, 21 nt. discovery process for jury trial
2.6. 12/?.3!05 or so Leland Falii: from Folix Lirub and Brnoe C-o took impression ofmy L foot
flow the innolo that won ordered to keep the weight healing of the L great too off and make this
insole to allow the hauling ot` now n growing diabetic ulcei'fi'om latin/05 to 10/23/05 of walking
on the wound with 251 iw plus. 'lliin insole was given alter 2006, sand the wait during this time
bonanno nn inrn'eone olinqur nnd dnnngod the chance of this evorhealing while walking 2 to '3
milos a Wenlc, with ])oor“l)un" canvas shoes” the linndnge on the L great toe shown the “])un" of
tim infection plus onil.i'ic~.n.!.' that AN"P Connie Hnl)l)ard gave to knop area clean, no oral mitil)iotics
until Fel;- l»‘l or so 2006 for 10 days at a time Di'. Mohzunod Ahmed never increased doses or
requested any inti"<we-nous drole of antibiotics ur even failed to get n"onltnra" due to the elicit
supply by Mn. Str~attonli'-Xs'liornfis negligence to keep supplied Doctorn are responsible, they
could have called mentions around Vnrnar but never did

l)inbotic ulc:nr now in about n grade 11 or ll.l. Ahont 11 diino ca1-nickel size wound No
pictures of the L great tzoe. ormann\uumentn that would have helped to show that l was a "`sitting
ducl<"` for minutntion doe tn the be.low--ntnndard of prodnd. tth failed to provide the non might-
h'cnu'in_g rifth L great l'oo.

Lolancl 'Foli)t never gave follow»u[is ofthe. insoln onoo the insiole won given by CMS
medical stati" and never called CMS at all to son where l` am to check il` insole was helping or
made oliangnn, even doctors Atnund and thbord failed to get a consult or follow up on
appointment of the innol,e to strange or find another solution
2.'1‘. A<lditionnl medical malpractice of doctrnn Olnbode Olumnnlii'i, lanioo Ale\'ltnndnr,

7

PA=`.'¢E lilit* `RCVD ill Bltlilllll 5128!42 lllll [CEnlral Dayllghl Time]* SVR'.FAXSERVEIU " DNlS:U* CS|D: * DURATION (mm-SS):09-56

A.»
a

-"~¢~ng. a. 2001 soon _ llc-1099 P» 17
Case 1:07-cV-00050-.]LH DocumentZ Fl|ed 10/18/07 PageSof 16

1 t.¢l\oc.o.x Johni.ondnnn;;tho Z‘/~daystny at DGU hospital nn ornb_ol.it 2.'2?)'06` ntio-r clingnctirrg

my L foot that culture ionn'tnkon, x--rny of foot but ronnlts of thono roportn Whoro oiler `I\'lnroh 1sL
2006, by thon 1` won trzmnt'orrcd alter ft it done ot`l`\l drch oi”nntibicticn en DGU boc-anne- nnedocl
l)cd npnoo, Dr-. t)lnrnnnfin and Dr.' Ande..rnon felt that tho other 2 ‘/£ days IV I conch take at
C.‘nmmins U`nit. no on 2125/06 1 was moved to Cinnminn Unit. where the Doctor Snngroctn

‘ Donhiz‘.lnin finished the orders of the nbch doctors and with npln'cvnl cf Dr. Andenson and Dr.
Doshir'.l'sxin I wine sent hook to Vm~nor Unit' with no more nntibiotics, dry drawings with 45 days
lnyin the only lime I Wns ever loy-in between 10!10)'05 to '_3/1/05, walking nn infected foot,
cwnlling, pnin, trouble sleeping became n “unnecessnry waldon intlictcd pnin", negligenco, and
ln.cdicnl malpractice oftho above mention doctan Williznns vn. U.S. nnpm
?.S. C}n or about 3/1/06 thc transfer buck to Vzu'nnr Unit, I still hod to wan those 2 miles or on
n week to pill and chow,. 4 tim en to get pills and treatment cnll, within 7 days around 3/‘3/06 or no
while during trcntmont cnll, (2) two chips ot` bone cut through the muscle ot`thol L great too, now
n grade IV diabetic nlcor_. size from nickel to n qnnrter, l could not Walk again due to the
nnolling, pnin., rodnorrc, walking and Dr. Connie Hubl)nrd gch mo a scrip for n whch chair to
which I had t`or n while until n “bonc ocan“ was done by orders ct`Dr. Scott back in 12!20:‘05, l
believe that date but thc “l')one scon” raped stated drnnng,e to the loft grant toe, JRMC hospital
took the scan.
nnn»n; #' 21a ns conoco
29. Pqn'il 10"‘ or no 2006 at Vamcr Unit between Dr. .Ahme.d and Mn. Slratton!Anhcrnfl about
the next procedin'c of which thinl decision by CMS Wns to ampntnte the l`,, great toc, then
appointment in `Dr. Jnhn Ora Lytle to discuss the ninttor,l was sent to soo hinl. I wanted a 2“"
opinion bonanno there are other treatments md prooodnrns that not only amputation in the
unsworn

- Dor.um ents ot I)is-covory-

30. April 15“’, 2006 or no 1` wanted to wait a Woe-k cr no to think about the isnnen. l`wnn never
told from Dr. Lytlo the procedures cr opinions like my podintrict told inc on my issues back in
2005 prior to my incarceration so l ntopped CMS ot Vorncr until l talked to some people to
decide what to do. A,g,‘nin l`rccmestcd n. 2“" opinion and even n CMS other orthopedic like Dr.
Crowoll- at SW I'i`.nnpitnl bntl never got that ohonco oithnr. l only denied the appointment until n
i-'.=ook.. Frorn 3!1/06 to dle!lld still nn antibiotics IV or oral antibiotics thorot`oro linn .Alnno.d

8
PA"SE 17123 ‘ RCVD Al' Bl8l2007 5:28142 Alll [CEnltal Day|ighlllme]* SVR:FAXSERVE{[}* DN|S:U * CS\D: ‘ DURAT[ON (mm-SS]:()Q-SE

"’»sn. s 2001 511-ssr . sims P. is

thilsd to give these medications or transfer to a unit so l con get rnore,jost negligent to below-
stsrrtlsrci o:t` onre. ` - '
~ ‘.l.)ocmn cuts st I}isco'vcry ~-
t_`.‘.lvil Rights A.ct hud Color of I,,nw Vlolstions »
il l. t.‘Jn Mn_v d.“’ or so of 2006 s legal letter from Arksnsns Stste Supreme C.foiut thnt l never
l received while recovering ii‘om surgery of my smputntion, both Lt. 'l'illmsn tutd .anice
Blsnltenship of DGU` conspired to plot to see what the letter wss, AR 860 regulation oi` privilege
mail that stafi` is got to open no legal mail Witliout the presence oflhe inmate to Wl\oin it is sent
to, this letter was placed in my medical records end stamped in the rt hand comer ofth'e letter, l
found it in my medical jacket after my return from DG`U on or about lone ?.“" 2006. Ms.
Blsnkenship and .t,t.. Tillmsn are-responsible and lishle, they never gone the letter or envelope
back to me.
E.w]tihits, 23, Z¢, 2$, 26 attached or nt; discovery _
32. 'I‘om Mmiwaring and Dr. Honrce Mrr'vio .Tr. along with ADC staff otjicicls plotted to
bust me with s so»called forged MSF-ZO? form, upon or_ about _/L_/~___f_{_!£[f_ end
i*[__~fv[_§_!“_a_§’__ two {2) disoiplinaries ii'om CMS'etaff` to which I was blamed for s`MSF-?.O'i
scrip to Whioh I did not forged I wanted n handwriting analysis done by ADC and they did not
do il. Iwns found guilty of the charges and spent over 60 days in isolation for the charges With
proof of the MS.F-Z(l'i scrip, l will prove thsiil did not forged any M$F-Zil? scrip, and will get
justice for my 60 days or more in isolation and the defendants are liable by falsifying reports on
inm ats, Al} ?4»03 and policy of CMS.
I'Lxhil)lts 27, 28, '29, 30, 31, 32,' at discovery for jury trial
3.3. Doctor Rolnnd John Anderson medical director for C.`MS is responsible along with Dr.
`Pntriclr Ai'nold in the decisions ot`rriedicol issues for CM.S and ini'nales, their delays in treatment,
delays in getting equiptttetlt, even orthopedic shoes and nlso HSA's arc responsiblss i"ot'
schedules wild appointments to which Sh"ottoo/Ashcrull' is liable for the delays oi`Dr. .Jolm Ora,
i..ytles orders of orthopedic shoes with iusolos for the help with holnnce with the lost now of my
L great tos, to which from .‘.`oric 2’“ 2006 till Feb 9"" or so of 200? “9” months with out
orthopedic shoes is a violation of civil rights mid color of ls.w. All ])mties litiled to respond to
my “serious medicaid needs." To which malpractice nogligoo.c:e, shows in this case is beiow»

standard oi`csre to which the Plaintit`i" is seeking oil darnoges hercwithht sick call, overolun'ging

9
Pir'$E lilll* RCVD AT iliiilllli 5:23:42 AN! [Ctniral Daylighl Tlme] ‘ SVR:FAXSERVEIU* DN|SZU' CSIDZ * DURATlON (mm-SS)!UQ-SE

Case 1:07-cV-00050-.]LH Document 2 Filed 10/18/07 Page 9 of 16 '

No. 1099 P. 19

A“g' 8' 20Oi:a§égiib%cv-oooeo-JLH Documemz Filed 10/13/07 Page 10 of 16

lillie i-’l.ninl.ili:` 13.00 l`or ongoing In‘ol')ierna of my ii foot since Aprilz(i, 2006 ar eo olili nation
$30.00 pina on oi`.Iuly 1“ 2007, ijMS etofl" constantly known that they are not to charge ii`
prohien'ie ore existing Si':-`Ji: Snmier_a va liom, 'F.D. `l?a 1996, 959 `.l'".f>'upp 689 adopted 960
l*`.Supp 893 v
Ex.`!\ilrits 34, 35 o't£.. tn discovery process for jury trial
34. Aocorrling to Arl:enaaa M`edieal Malpradioe Aot. medical expert testimony is required to
prooftlint medical m airmotioe has been done, along Witli negligence,
sara exhibits 36, s?, 38, 39
Dn'vi.s‘ vs. Kemp 252 Ark, 925, 481 S.W.Zd 712
35. Bone searle before incarceration of 10/10/`05 from Baptioi Hoepital of’Liille Rook, AR
will shoan damage to the L great toe.
SIILE exhibits 40, 41
36. l?-one Soans, venons I)oppler tent, x-rnya_. oiler 10!10/05 to present will show reports that
will help to nee that my medical issues are genuine material of facto to where doctors between
liir'ltl/OS to 4f?.0f06 failed to provide adequate medical care, and was negligent and did violate
‘ stare medical malpractice by being negligent and did allow me to walk on my foot with a.wound,
and no support that keeped the L great toe li'om a non~w'eight bearing pressure off the L great
too, failedto give long term intravenous drops of antibiotics and failed to see reports on the labs
of eulturetaken and x-rays, also waiting eo long for better support shooa, not having cnltnrea on
the site o'.t'Varne-r, or transfer me to_‘_another unit. Totally did not know the proper treatment of' n
podie.triet, tried to save money be giving me medical care that waa below standard of care, failed
l to continue antibiotics alter 311/06 to 4/'2.0¢’0'7 to which dr. .iohu Lytle started long term antibiotic
core to treat "‘ginigl“ene“ infection that damage 1in `.[f great toe and was a threat to my life by
gnngreue, entering my whole blood ayerem, to Wliich led to amputation of‘my L great toe and
other boner in my L f’oot.
Eviclon eo air discovery ol` reliort.r, documents and medical history from 16!10!05 to 4/20!06.
3'7. a). Stanclard of care whether in small communities or prison, elc., shall be the same
el:iuiclarcl of care in big cities or all other cities. ’I'lierefore, reasonably degree of skill and
leaming in similar ;n'aoticea.
Sli'.li$ exhibit case 42, Iuellt vs. I~I.rtgen_, 70 N..'D. 338, 294 N.W. 183 (1940)
b) SF_-E exhibit # 43, Lewis vs. ii.ngelone, W.l). 'i'n 1996, 926 Il`.Snpp 19

i(l
PAGE 19123‘ RCVD AT ilill@Ui 5123:42 iii [Cenlral Day|lgth[mE]* SVR‘.FAXSERVEIU * DNiSZB ‘ CSlD! * DURAT\ON (mm-SS):Ui|-li

\
"'e

l\|o.1099 P. 20

'F:Rug' 8' 2Op,`lasc§:13_:(i)):`li-cV-OOOBO-.]LH DocumentZ Filed 10/18/07 Page 11 of 16

""" ` <:) ` ' san iranian a ing iia-i,ia\eayvs.' coughlin C..s. c (N.Y.) rosario ma soo

.‘-’tli. ' 'I`hat. with tile presence ¢rt' a medical condition that aigniticantly aH"e.cta an individuals
daily activities ortho existence ot’chronic and substarn.ial pain “`is a serious medical need” my L
great too and L foot affected me from loflo/O§ to 4!20!06 daily ‘nxnaeoeasary wanton inflicted
pa.io"’.

SEE exhibit # 45, Me('.~‘ruclcin vs. Srn.itli, 974 li‘.Zd 1050, 1050 (9“` Cir.) 1992 federal caee.

Wl‘iereforc, Defenclants have violated and ore liable ot`clarn ages of the amputation of my
L great toe, nom 10/10/05 to 4/20/06' walking on a open wound of a. '/t” round grade I or II
diabetic ulcer_. with a weight~beza‘ing pressure ot` 251 lbs to 270 lbs throughout the above stated
tiniet’ramec, the distance o.{'this walking was over 2 to 3 miles a.waelr, which the wound grew to
over aquarter “sizc” with puc throughout the 10/10!05 to deO/OG with a culture only taken on or
about rlf?.J/Oo', doctors failed to settle report ofthnsc lab reports, to cheek what type ofinf'eetion,
ao to treat the right antibiotics to the type of infection, report came back on or about March 1"',
2006 or so, to which even n-ray report taken by Dr. Olumuntin ord.ers, still the Plaintifl' was
forced to walk on a infected l_`oot with out a coram test of the levels of infections, to which
l"laintiff` alter being transfean back to Vamer Unit. In the '7"‘ day ofMarch of 20th or so the
two (2) chips lof bone that cut throuin the muscle cf the L great too annum that the L great too
was damage 'I'herel"ore after a iriontii later or ao the bone noon report shown that the damage
noia done.

Wit.h the preponderance of the evidence and discovery of documents, more reporte,
doctors .E»om.is reporter that each tried to perform the duties cfa skilled doctor of a“pocliab'iat” or
a “oitl:opedie dootor,"’ each was not skilled With diabetioe with foot problems to where dean ages
o.t` the Plaintit`freq_ueat as sucii:

As a chilled trained HVAC, ivelder, electriciaa, maintenance mechanic, who mont use
laddera, strain climbing, picking up items or equipment over 25 to 50 lba, a. loss ot' balance,
Which now persist for lit`e,1 the work history of the Plaiatiii` in rehabilitation of a new cen‘eer,
poaaiblc total disability future regular orthopedic shoes required for balance A mere lifespan of
approx 25 more yezsa, salary between $12,000.0010 25,000.00 ayear, abnormal problems still of
the lott foot, with afallen so'eh, and the condone and ae ot`thc L foot and absence ot`the L great
toe, total damages of rehabilitation and orthopedic shoes-at awarda of $100,000 dollars from

doctors liable t`or rehabilitation and career changes and orthopedic shoes for 25 yeaia.

ll

PAGE 20l28 " RCVD AT 8!3!2007 5:28:42 A|Vl [Ctnlral Day|igthlme]* SVR:FAXSERVEIU * DNIS:t‘ CSID: * DllRl\TiUll (mm-SS)ZUl-.'JB

Aitg. B. 2007C 5:36AM No. 1099 l‘. il

Case 1: 07- -C\/- -00050- .]LH Document 2 Filed 10/18/07 Page 12 of 16

 

\~-¢.._,.... ._.~»m---.. .*-\.».-...._

below~ol.andord of oia'e, medical roaan actioo, negligence from tha en oneoos dacieions of
misdiagnosie of roy I, foot and L great toc. ANP’s and medical doctors should bottomed with
m ore loaned ol` “diaheticc with foot problerns” or send patients to a. “'podiatrist” to which C-MS
con and shall contract a. podian‘ls‘t in the near future for nil inmates.

P‘rcm 10!10!05 to d/?.O/Od; doctors took a profeeeional oath that is a medical oath of
P.l`ipp.ocrat.ic oath tci give all patients eclequate medical care ao matter where or who a patient
lives or itt Tactics of CMS to save profits by providing below-standard of cro'e, and with a
contract with ADC for over 56 million dollars in its contract or ao, $100_.000 (one-hundrod
thousand dollara) per defendants of these doctora and ANP’a.

1) .Tanioe Alexnnder ANP oi`DGU of Pine Bluff`, AR between dated of 10/10/05 to 10/1'_1/05

and 2123/05 to 2f2.6/05. 'l'hose dates are approx in Whioh I watt in their medical carc,

2) Rebecoa..lohoson ANP of .DGU ofPino Blui‘i", AR between dates of 10/1 0105 to 10/17/05

and 2f23f05 to 2./26/05. 'l`heae dates are apprmc in which I was in theirmedicai care.

3) -Olabode Olumunf`in Doctoi' of DGU oi` Pine Biu.ft", AR between dates ot` 10!10;'05 to

ttlr't’i/G$ and ?123!05 to 2126/05. ”[heee dates iue approve in which I vote in theirmedioal canel '
e) advande monte negro ar comer omit between rom/05 to ant/ott anton to

412-0/06. 'l`hese dates are opprth in which I was in their medical care at Gt‘ttdy, AR.

5) Sangreota. Doshi/Iain of C‘.urmnins Unit between 2/'26/1)5 to 3/1!`06 in which these dates
are apprth dates when I was in her medical care at Grady, AR.

6) Dr. Roland (John) Andcreon medical director of C‘MS of Arit. at Pine Blutl`, AR regional
office from dates 10!10/05 to the 4/20)'0‘6 amputation Hia position won the head medical director
that iieeped in contact with ali tl.“-MS doctors in which the Plaintiii`wae in their enre..

'.') liebert Soot.t, doctor ofDGU clinic and wound care of CMS and Derm ott unit. Part time
with Varner unit wldle on coll. Datee between 12,-'20/05 to 4!20/06 in which unknown dates in
which I watt in his medical core

8) Hoorce M`at'vin, jr. doctor ofNCU Unit at Calioo Rook, AR for his falsifying report of
005’n in which the 'Plaintiii` did not forgo or alter a MSF~207 that l)r. Mamins jr`s testimony of
that 005 report caused tt decision by ADC employee Brent Brcwer to find the Plaiatili' guilty of
such diaciplinariea listed from C.MS at North Contrsl tlnit.

l’_u_a_it_i_v ____ e_t_)_s_r_n_t_i,g_e;o. In the amount of $100, 000. 00 pre defendant oi`tho doctors and ANPo

12
PA\’§E lllii‘ RCVD ill lillZElUl 5228:42 ANI [Ctnlral Dttyllgitl Tllttt]* SVR!FAXSERVEIG * DiilS:i* CSlD‘. * DURATiON (mm»$$}:UQ-ili

, , . nine F. 22
Au°' 8' 2()H'Jtsio'i?:@M/-cV-OOOBO-.]LH DocumentZ Filed 10/18/07 Page 13 of 16

 

 

role, being o.metlicai pi'ofeeoioiinl, doing medical tlioignosis,' claiming to be a.oliill professional,
in the cone of being =t"f`oci| and wound cru'o" epeoitllistst. Preponde.renco oi'the. evidence that he
Stote Meclicel Botu'<i of nritenooe_. that moot of C-MS doctors ore not ooecioliel,jott o general
IVI.D.

`With a continuance ongoing mobleme since amputation of the left too and surgery ocurs,
paiu, nerve pein, the abnormal look end disability of the use of the lefl. foot. The emotional
damages ofllie pain end suffering of the otwlling, throbbing, unnecessary Wulking on a. infected
foot from 10!10!05 t.o 4/20/06. Tlic Plointi{"f was a“sitting duck"` for amputation 'I'he roles of
each doctor either working together, or Worl:ing oepurate, the patient/doctor 1'elatiouehip, mo
broken due to une_ducated, unekil_led, standard of cure, hon resulted o long tenn disability, and
mony future oetback_e of the Plaintif.t`e life by thin disability Not only comer choogee, but a
rehabilitation ofu complete dil'.`t`erent cureer, that tony be a sitting down, job, or n loss valued job
that may also be apart timejob, of only walking in short periods of time.

'],‘lie Plointii_’l` mental statue lied become a roller counter ride, of retaliation by CMS stuff
ineml)et$>', “cruel and unusual punielnntnlt“ to which the Plaintifi"had many untreated mental
health issues timing this ivhole ordeel. 'I`hio is with the “ofi~iciel cnpocity” oftho defendants their
jol)e~iu which they ore lioble. '

“__!§g£§»'_on§l Co aci ”: for the recommended damages of the “personal ctipacity” of those
involved in this case, those cleli:ndenl.e if jury seems to add to the requested damaged tt
$25,000.00 personal damages per defendant for each of their conduct that when it become el
personal iotuliotion by the Plnintifl`o to which they erc not to retulitrte, or falsifying documents
end reports and delayo in getting tteaim enl., supplies and orthopedic ohoes.

_$>_tt_n$l_t§__$‘_)j_i§__tlg_l}ié§h§g_oii_.: your peroonol and professional conduct shall be notified by the
“l.'.icenoing Boord ofNursing’ for your termination or probation of your license of being n nurse,
your professional oonduct waste retaliate for the redress o‘f°tlic grievances the Plnintill'wroi.e al
Vernor U`nit. 'l’lte role you played with ADC o£lic-iole in herring me trwiefeired to Molvem Unit
on 6~2'.0»05 even delayed my orthopedic ehoes, the gee-hong catheter that was io my chest and not
removed until 9)'],1/06. §ovornl months lhall did not have to have this in my chee'l. Still having
infection in the tuet\ eli oftltio date 6./21!0'?.

Also the lost of completing my vo~tech programs so n “`disablod person”, my religious

right of being a C.‘-hurch cf Clu'iel family ct Vorner U~nit, locating the chance to be release at my

13
PA-'.lEl?llB* RCVDATBIBIZUO? 5:28142Alll[CentralDayllghtTlme]*SVR:FAXSERVEIU*DN|S:G*CSID:*DURATION (mm-ss):ll-l£i

sua s. 20§o - l° 1099
ase 1: O7- -C\/- -00050- .]LH Document 2 Filed 10/18/07 Page 14 of 16

 

 

origirn.il '['.t"'. doto oi`~t_/l.t;/'O"l nod tho 60 days and my 1" disciplinary ever in tho ADC‘. oinoo 1981
perfect record gono. 7 `
' 'l'ho Plnintilf also salt for a lottor of apology to the Plnintitf of your notions and o lottor to
the Arlcunsus P:s'olo Bonr¢l for your notions iu this cnso. '
' ._lg_s.i_i_n__Bdu_r-pg.t___t: for your role ofwriting two (2)`hogus disciplinan`os from 3/10/06, 81 161/06
and your plot with Ms. Asl)orail. for writing them and loosin_g my class and "‘60 dnys'" good tim o,
retaliation, and violating the “I"loionco Nightingale outh”, a letter to the Licensing Board of
Nursing by you with your actions in this case; the Parcle Board of your actions of misconduct
professionally, $25,000.00 damages personally and that capacity of your conduct
lln_ii__Manwaring: for rotatiation ol'hnving ms placed in isolmion with his disciplinary that was
bogus, thc MSF-207 scrip that I Wntt accused of J‘.'orging, of 9/20/06, the plot with ADC for
having mo placed in isolation and being found guilty ’oy Sgt. Bront Browor, your role in all ofth
Plnintiif`,nnd letter to the J?arolo Board also oct` your actions and oonduot.
$15,000.00 dam ages awarded to the plaintiff in your personal capacity of your conduct
l_)_o_cggr__l;logy§_§io_ljgi_n£: your role as adoctor and umodioal pmfessional, it’s n sad part
as a doctor that you lilco to save profits for CMS and give inadequate medical caro to inrn sites and
the Plaintifl`. The 005’s you wrote in statement of` that MSF'-?O? scrip of 9f10!06 was totally
your lim'tdeiting and your decision 'Ihc Plsintiff spent over “?0” days in isolation because of
your Wpoit that Was n lio. A lottor of apology of your actions bo sent to the A.rkunsas State
Modical Board la needed from you of this oction. A letter to the Parolo Bcsrd oi`tho misconduct
and plot and lic that you stated that document was forged Your job st Cslico il.oci'.‘ shall bo
“te.rtimatocl” and damages of your so-callcd Hippoorntio oath you \riolntodl _
Damagos in personal cnpacity: 5100,000.00 for the- oonrlnot that was not professional and
maiproctico.
I_ar_i_ic_o__l§|_nt_i_l£§_r_i§§lip: your rolo oi' placing tila legal letter from thc Stdo Suprome Couit and
stamped it ou Moy ¢1-"‘ 2006, with Lt. Tilhnan’s knowledge and plot in his rotc between each
other won nviolntion of my civil rights and your conduct as a CM'S omployoe, your misconduct
along with the job of oliuclsmnn and your misuso of power and the not of not investigating my
complaint with Ms. Sandrs. Strafto)_\fAslicrait, and not seeing the truth your damages to tho
Plnintifl`nr'o as such.
$50,000.00, personal oapacity, and a letter that you will cooperate with my federal case against

14
PA"$E 23l28* RCVD AT 8l8l2lllll 5:28:42 lllll| [Ctnlta| Dayl|ghl Tlme] " SVR?FAXSERVElU ‘ DN|S!O* CSlD: * _DURAT\ON (mm-SS)ZUQ'SE

. No.iosi P. 24
*`~“g- 3- 200&3§@3§W7-cv-00050-JLH Documemz Filed10/13/07 Page 15 of16

 

A.I`)C,‘.
$:L`MC‘VZQE, your rule_and knawlarl,g,a ni' the I.t. 'I‘illmim?e»: opening rif my legal mail

\»i'itlmut my knowledge or premian and placing that legal letter in` my ""m¢dicai _iackel¢"` to keep

my from finding tha-it letter.

[’ers<mnl capacities ciwnugeo of the other d.ei`eli<|z\nt§: $5`0_1000.00 of the 'i»'iolah`ons both

professionally and officially

S"[’A'l']?. OF ARKANSAS
(ZC)UN'.['Y OFIZARD

I, 'I‘ommy 'I~l`endersion, after first being duty swom, do hereby swear, depose and state that
the foltowing above mention motion of Cufor of La.w, Arkansas Civii Ri,g,his Act of1993 `and Art
93? of 1997 Me.dical Malpractice unit and ACA 16~114°201 thru 209 the complaint to t|w
defendants of CMS and Feiix Limb and Brace Co. are true and with the best of this Plaintif!"'a
lmowlec.lgell

I further swem‘ that the description of the incidents contained herein, ia a.mle, accurate

and impmi:\l descn`ption to the best of my knowiec!ge., information and belief until discovery

 

 

prooes$.
-v-*“'"F
Nm“¢r {m. . .-@M,_£T_\
Date: /'r!l / °" `>
15 " 7 f
i‘ iii '-
Subscribed and Swom to before me this ____,§»_:_L_:____ day of._`_________'_._LL_- l_.*___ ______ , 200‘?.

   

.__,Jsi:;éjiB/?’édwl£*_ ".‘_
'.N`otuxy]?ublic ' ,

My c<\m.).u:i.s¢si<)r.l expireis: _____Z__?_L,eé/[.,gq_!_{_‘_____:____

Cex:tificate of Service
On this day ___;)»_/_ _____ -:)f 17"’7__________, 200? this copy of the above style motion and other

..._~...-Mu_v~ -

` 15

PA’§§-E 24128 ‘ RCVD AT 8}8§200? 5:28142AM [Cenfr&l Dayligh{ Tim€] ‘ SVR!FAXSERVE|G* DN|S:U‘ CS\D: * DURAT|ON (mm»SS)'.Ug-§G

K“S- 3- 20‘3@:@1§<§3§:“ii7-c\/-00050-31_H Documemz Filed10/13/07 Pai_ijié 1103901‘1% 25

copies i')i;`l'iw if‘m'cgoing m oticm was mailed luz '

I' M£, 'Y;H“m`lcéab¢t_ ' l
M’, é»A/. /Bé/
md ¢édz£hc_, /477- sam
‘i 4.
5 6.

By U.S. mail postage paid and ur truck mail sent by the plaintiff from Noith C.’outml Un.it of
ADC.

    

 

Tomu' lienderson #930§§_

16
PAGE 25128* RCVD AT BIBIZOOF 5128:42 AN| [Cenira| Day|ight Timel* SVR:FAXSERVEIU * DN!S:0‘ CSlD: * DURATION [mm-SS]:OQ‘§B

